                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                        CRIMINAL DOCKET NO. 5:10CR2-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                              SCHEDULING ORDER
                                 )
JIMMY EARL HILTON (2)            )
JACQUELINE H. HILTON (3)         )
                                 )
           Defendants.           )
________________________________)


      THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed on December 13, 20121, remanding this case for re-sentencing.

      IT IS, THEREFORE, ORDERED THAT:

      1)       This matter is hereby scheduled for re-sentencing on Monday, March 4,

               2013, at 2:00 PM, in the United States Courthouse, 200 West Broad

               Street, 2nd floor Courtroom, Statesville, North Carolina; and

      2)       A copy of this Order shall be sent to the Defendant, Defense Counsel,

               United States Attorney, United States Marshal Service, United States

               Probation Office.


                                                Signed: January 9, 2013




      1 Mandate issued on January 4, 2013.




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